      Case 21-50289-pwb      Doc 34 Filed 05/14/21 Entered 05/14/21 15:13:40              Desc Clk.
                              Ntc UST Presume Abuse Page 1 of 1
                                 UNITED STATES BANKRUPTCY COURT

                                   For The Northern District of Georgia


In    Debtor(s)
Re:   Bridget Surgretta Taylor                                : Case No.: 21−50289−pwb
      3947 Veracruz Court                                     : Judge: Paul W. Bonapfel
      Decatur, GA 30034                                       : Chapter: 7

      xxx−xx−8739



                 Clerk's Notice Re: United States Trustee's Statement of Presumed Abuse



You are hereby notified that:
       The United States Trustee has reviewed all materials filed by the debtor and has determined
that the debtor's case is presumed to be an abuse under 11 U.S.C. § 707(b)(2).



Dated: May 17, 2021




                                                              M. Regina Thomas
                                                              Clerk of Court
                                                              U.S. Bankruptcy Court


Form 403
